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                                            ID#: 595

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                    AT COVINGTON
                              CIVIL MINUTES - TRIAL DAY 2

Cov. Civ. 21-72-DLB-CJS                 at COVINGTON                            03/05/2024
Style: Jeffrey Cundiff v. Douglas Ullrich

Present: HON. DAVID L. BUNNING, JUDGE
Stacie Gabbard               Lisa Wiesman                Zhina Kamali
Deputy Clerk                 Court Reporter              Law Clerk

Benjamin Pugh/Christopher Roach
Attorneys present for Plaintiff Jeffrey Cundiff

Jeffrey Mando
Attorney present for Defendant Douglas Ullrich
                                                                                      __________
DOCKET ENTRY:
    1. Defendant’s oral motion for Directed Verdict at the conclusion of Plaintiff’s case in chief
       is DENIED for the reasons stated in open court.
    2. Defendant’s renewed oral motion for Directed Verdict made at the close of all the proof is
       DENIED for the reasons previously stated in open court.
                                                        __________________________________
[X]    JURY TRIAL. The jury impaneled and sworn is as follows:
       (1) 269             (2) 194
       (3) 232             (4) 221
       (5) 188             (6) 200
       (7) 234             (8) 271

[X]    Introduction of evidence for Plaintiff resumed and concluded. Plaintiff rests.

[X]    Defendant’s case-in-chief began and concluded. Defense rests.

[X]    Closing arguments of Plaintiff and Defendant.

[X]    Instructions read to the Jury.

[X]    Jury retires to deliberate at 2:47 p.m.

[X]    Jury Question No. 1 at 3:50 p.m. Question and Court’s Answer provided to Jury. Clerk
       shall file same in the record and docket as Jury Question No. 1.

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[X]    Jury returns with a verdict at 4:06 p.m.

[X]    JURY VERDICT. SEE SIGNED VERDICT.

[X]    Judgment in favor of Defendant will be entered separately.




cc: USA/USPO/USM                                                    Deputy Clerk’s Initial: SLG

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